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                             UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF TEXAS

BBC CHARTERING CARRIERS             §
GmbH & CO. KG,                      §
                                    §
            Plaintiff,              §
                                    § CIVIL ACTION NO.:
V.                                  §
                                    § ADMIRALTY
FRACHT ITALIA SRL, and              §
HELVETIA CONTAINER LINE, INC.,      § Pursuant to Rule 9(h) of the
                                    § Federal Rules of Civil Procedure
            Defendants.             §
                                    §
*************************************
                 COMPLAINT FOR DECLARATORY JUDGMENT

        BBC Chartering Carriers GmbH & Co. KG (“BBC”) files this Complaint for Declaratory

Judgment and respectfully represents as follows:

                                                   I.

        BBC requests that this Court declare the rights, liabilities, and other legal relationships

under contracts for the carriage of goods by sea and determine the rights arising under those

contracts.

                                                  II.

        The defendant, Fracht Italia SRL (“Fracht”), is an entity that will be affected by this

declaration. Upon information and belief, Fluence has an interest in the subject cargo.

                                                  III.

        The defendant, Helvetia Container Line, Inc. (“Helvetia”), is an entity that will be affected

by this declaration. Upon information and belief, Helvetia has an interest in the subject cargo.
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                                                 IV.

       BBC is a foreign entity organized and existing under the laws of a foreign nation, with its

principal offices in Leer, Germany, and which was and is engaged in the business of operating

vessels for the carriage of goods by sea. Specific to this action, BBC is the charterer of the M/V

BBC DELAWARE (IMO No. 9357212).

                                                  V.

       Upon information and belief, Fracht is a foreign entity organized and existing under the

laws of a foreign nation, with its principal offices in Milan, Italy. Pertinent to this action, Fracht

was the shipper under a contract of affreightment evidenced by BBC Bills of Lading Numbers

BBHY1012053LN01, BBHY1012053LN02, and BBHY1012053LN03 (the “Bills of Lading”),

under which certain goods were to be shipped from Laem Chabang, Thailand, to New Orleans,

Louisiana.

                                                 VI.

       Upon information and belief, Helvetia is a domestic entity organized and existing under the

laws of New York. Pertinent to this action, Schenker was the consignee identified on the faces of

the Bills of Lading.

                                                 VII.

       The BBC DELAWARE is an ocean-going vessel engaged in the common carriage of goods

by sea for hire and was nominated to carry specific cargo at the center of this dispute pursuant to the

contract evidenced by the Bills of Lading.

                                                VIII.

       This is an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal

Rules of Civil Procedure. This Court has jurisdiction over this action under 28 U.S.C. §1331, as this



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action arises under the laws of the United States, in particular, the Carriage of Goods by Sea Act,

Pub. L. No. 521, 49 Stat. 1207 (1936), reprinted in 46 U.S.C. §30701 note 1 (“COGSA”), which

BBC asserts is applicable to the contract for carriage both under its terms and by operation of

law. This Court also has jurisdiction over this action under 28 U.S.C. §1333, as this is a claim

that arises under this Court’s admiralty and maritime jurisdiction.

                                                IX.

       On or about April 15, 2021, as provided by the Bills of Lading, a cargo “said to be” a

total of 91 “packages” described on the faces of the Bills of Lading as “PARTIAL SHIPMENT

OF: MELTSHOAND ROLLING MILL EQUIPMENT” (collectively, the “Cargo”) were loaded

aboard the BBC DELAWARE in Laem Chabang, Thailand.

                                                X.

       Prior to loading, the master of the BBC DELAWARE observed damage to the Cargo

reflected in the section of the faces of the Bills of Lading labelled as the “MASTER’S

REMARKS,” which each provide as follows:

               1. WEIGHTS, SIZES & QUANTITY ARE AS DECLARED BY
               SHIPPER.
               2. HEAVY UNITS HAVE PARTLY BROKEN TARPAULINS IN
               PLACES OF LIFTING POINTS.
               3. HOLD 1 CARGO HAS LOADED DURING RAIN.
               4. CONDITION OF CARGO UNDER TARPAULINS IS
               UNKNOWN.
               5. CENTERS OF GRAVITY OF HEAVY UNITS NOT ON
               PLACES AS MARKED.
               6. ALL PACKAGES/UNITS OF CARGOES WERE STORAGE
               IN OPEN STORAGE YARD AND COME TO ALONGSIDE
               THE VESSEL BY THE OPEN TRUCKS, WET AND
               DAMPNESS BY RAIN WATER BEFORE SHIPMENT.
               7. STEEL MATERIALS CARGO AND TRANSPORT FRAME
               PARTLY/SLIGHTLY AFFECTED BY SCRATCH MARKS.
               8. STEEL MATERIALS CARGO AND TRANSPORT FRAME
               PARTLY/SLIGHTLY AFFECTED BY ATMOSPHERIC RUST
               SPOT.


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              9. P.P. SHEET COVERS OF MATERIALS CARGO
              PARTLY/SLIGHTLY OPENED/TORN/HOLD. THE CARGO
              CONTENTS UNKNOWN TO US.
              10. WOODEN CASES APPEARED TO BE IN GENERALLY
              SOUND    CONDITION     AND   PLASTIC  COVERS
              PARTLY/DUST/DIRT/STAINS, THE CARGO CONTENTS
              UNKNOWN TO US.

                                                XI.

       Following departure, the BBC DELAWARE encountered adverse weather, allegedly

causing damage to a portion of the Cargo.

                                                XII.

       The terms and conditions of the Bills of Lading provide in pertinent part as follows:

              3. Liability under the Contract

              (a) Unless otherwise provided herein, the Hague Rules contained
              in the International Convention for the Unification of Certain
              Rules Relating to Bills of Lading, dated Brussels the 25th August
              1924 as enacted in the country of shipment shall apply to this
              Contract. When no such enactment is in force in the country of
              shipment, the corresponding legislation of the country of
              destination shall apply. In respect of shipments to which there are
              no such enactments compulsorily applicable, the terms of Articles
              I-VIII inclusive of said Convention shall apply. In trades where the
              International Brussels Convention 1924 as amended by the
              Protocol signed at Brussels on 23rd February 1968 (“The Hague-
              Visby Rules”) apply compulsorily, the provisions of the respective
              legislation shall be considered incorporated in this Bill of Lading.
              Where the Hague Rules or part of them or the Hague-Visby Rules
              apply to carriage under this contract, the applicable rules, or part of
              them, shall likewise apply to the period before loading and after
              discharge where the Carrier (or his agent) have custody or control
              of cargo. Unless otherwise provided herein, the Carrier shall in no
              case be responsible for loss of or damage to deck cargo and/or live
              animals.

                                                ***

              (c) The aggregate liability of the Carrier and/or any of his servants,
              agents or independent contractors under this Contract shall, in no



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       circumstances, exceed the limits of liability for the total loss of the
       cargo under sub-clause 3(a) or, if applicable, the Special Clauses.

                                       XIII.

The terms and conditions of the Bills of Lading further provide as follows:

       SPECIAL CLAUSES

                                        ***

       B. U.S. Trade. Period of Responsibility

       (i) In case the Contract of carriage evidenced by this Bill of
       Lading is subject to the U.S. Carriage of Goods by Sea Act of the
       United States of America 1936 (U.S. COGSA), then the provisions
       stated in said Act shall govern before loading, and after discharge
       and throughout the entire time the cargo is in the Carrier’s custody
       and in which event freight shall be payable on the cargo coming
       into the Carrier’s custody. For US trades, the terms on file with
       the U.S. Federal Maritime Commission shall apply to such
       shipments.

       (ii) If the U.S. COGSA applies, and unless the nature and value of
       the cargo has been declared by the shipper before the cargo has
       been handed over to the Carrier and inserted in this Bill of Lading,
       the Carrier shall in no event be or become liable for any loss or
       damage to the cargo in any amount exceeding USD500 per
       package or customary freight unit. If despite the provisions of sub-
       clause 3(a), the Carrier is found to be liable for deck cargo, then all
       limitations and defences available under U.S. COGSA (or other
       applicable regime) shall apply.

       (iii) For purposes of calculating the Carrier’s liability under
       subsection (ii), the number of pieces or units listed in the box on
       the face of this Bill of Lading headed “Number and kind of
       packages; description of cargo” shall conclusively establish the
       number of packages. If the cargo being carried is not a package,
       then unless expressly stated otherwise, freight is calculated on the
       number of such unpackaged vehicles or other physical pieces of
       unpackaged cargo, including articles or things of any description
       whatsoever except goods shipped in bulk, and each such piece of
       unpackaged cargo shall conclusively be deemed one customary
       freight unit.




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               (iv) Whenever the U.S. COGSA applies, whether by virtue of
               carriage of cargo to or from the US or otherwise, any dispute
               arising out of or in connection with the Contract of carriage
               evidenced by this Bill of Lading shall be exclusively determined
               by the United States District Court for the Southern District of
               Texas, and in accordance with the laws of the United States.
               Merchant further agrees to submit to the jurisdiction of the
               Southern District of Texas and to waive any and all objections to
               venue.

                                             XIV.

       Although BBC provided Fracht and Helvetia with the fair opportunity to declare the

Cargo’s value on the face of the Bills of Lading, the defendants did not declare a value for the

Cargo on any of the three Bills of Lading.

                                              XV.

       To the extent Fracht and/or Helvetia will allege liability on the part of BBC for the

alleged damage to the Cargo, BBC, Fracht, and Helvetia are entities interested under the contract

for carriage evidenced by the Bills of Lading within the meaning of the Declaratory Judgment

Act, 28 U.S.C. § 2201(a).

                                             XVI.

       As an ocean carrier under COGSA, BBC is not liable for any loss to cargo resulting from

excepted causes. Here, any damage to the Cargo shipped pursuant to the Bills of Lading was

exclusively caused by one or more excepted cause. BBC is therefore not liable for any loss or

damage to the Cargo.

                                             XVII.

       Any alleged liability on the part of BBC is expressly denied. Even assuming, however,

that BBC is responsible for any damage or loss of the Cargo, such damage or loss is subject to

COGSA’s liability limitations because BBC is an ocean carrier under COGSA. These limitations



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to which BBC is entitled to include, but are not limited to, the $500.00 per package or customary

freight unit limitation.

                                              XVIII.

        Although any alleged liability on the part of BBC is again expressly denied, any such

liability potentially arising out of the factual circumstances described above is subject to the

limitation provided in the applicable terms of the Bills of Lading.

        WHEREFORE, the complainant, BBC Chartering Carriers GmbH & Co. KG, prays that

the defendants be cited and served and that after all legal delays and proceedings, this Court

declares that:

        1. The exceptions provided by COGSA are a complete liability shield preventing any
           recovery by the defendant from BBC for the alleged damage and/or loss to the Cargo.

        2. In the alternative, the limitation of liability provisions in COGSA apply to the
           contract of carriage, thus limiting any potential recovery by the defendants from BBC
           to $500.00 per package for the alleged damage and/or loss to the Cargo.

        3. In the further alternative, the limitation of liability provisions in COGSA apply to the
           contract of carriage, thus limiting any potential recovery by the defendants from BBC
           to $500.00 per customary freight unit for the alleged damage and/or loss to the Cargo.

        4. In the subsequent alternative, that BBC is entitled to the benefits of the Limitation of
           Liability Act, 46 U.S.C. § 30701, et seq., as the alleged damage and/or loss to the
           Cargo, if any, occurred without BBC’s privity or knowledge.

        5. In the additional alternative, that BBC is entitled to exoneration from and/or
           limitation of all potential liability that may arise out of the factual circumstances
           described above in accordance with the applicable terms of the Bills of Lading.

        6. Additionally, that the U.S. District Court for the Southern District of Texas is the
           proper and exclusive venue in which any claim arising out of the contract of carriage
           evidenced by the Bills of Lading referenced herein for the intended shipment of
           Cargo from Laem Chabang, Thailand, to New Orleans, Louisiana.

        7. BBC further prays for all general and equitable relief to which it may be entitled.




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                                        Respectfully submitted,

                                        /s/ Jason P. Waguespack
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